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                                UNITED STATES DISTRICT
                              SOUTHERN DISTRICT OF CALI


  UNITED STATES OF AMERICA,                               CASE NO. 11CR4·':Sw rY¥!L          HIP'''I   -~
                                                                                             1     ,

                                Plaintiff,
                      vs.                                 JUDGMENT OF DISMJ: SSAL
  CARLOS MANUEL SOTO-MELENDEZ
  (1) ,

                               Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

          an indictment has been filed in another case against the defendant and
          the Court has granted the motion of the Government for dismissal of
          this case, without prejudice; or

          the Court has dismissed the case for unnecessary delay; or

___
  x _ the Court has granted the motion of the Government for dismissal,
          without prejudice; or

          the Court has granted the motion of the defendant for a judgment of
          acquittal; or

          the jury has returned its verdict, finding the defendant not guilty;

___X_ of the offense(s) as charged in the Indictment and Superseding
      Indicment:
21:952 and 960 - Importation of Marijuana (1) 21:952,960,963 - Conspiracy to Import Marijuana
(1s) 21 :952,960;18:2 - Importation of Marijuana;Aiding and Abetting
(2s) 21 :841 (a)(l),846 - Conspiracy to Distribute Marijuana
(3s) 21 :841(a)(l);18:2 - Possession of Marijuana with Intent to Distribute;Aiding and Abetting (4s)




               IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: JANAURY 20, 2012


                                                         UNITED STATES DI
